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                                        2019
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                                  Valeo 2019 Attorney Hourly Rate Report


1.1 Executive Summary

The Voleo 2019 Attorney Hourly Rote Report is the nnost comprehensive and most detailed
competitive intelligence and legal pricing tool available because the Report details average hourly
rates by individual law firms as opposed to aggregate groupings of law firms with disparate pricing
structures as is found in surveys, peer services and e-billing reports.

The Report analyzes and presents hourly rotes for 2014-2018 + 2019 Forecast by Firm, Position (Senior
Partner with 25 or more years since graduation year. Partner with 24 years or less since graduation
year, Counsel,Senior Associate with 5 years or more since graduation year and Associate with 4
years or less since graduation year), key Practice Areas and City.
2018 was the highest rate averages ever for the largest law firms and we expect 2019 to be higher on
average by 4% or more overall. Smaller firms' rates will remain stagnant or fall.

Valeo Partners researches, reviews and analyzes hourly rates that are publicly disclosed of attorneys
and support staff at currently 1,500 law firms representing over 12,000 client entities. Secondary public
records research is performed to complete detailed engagement profiles of the attorneys and
companies invoived. Through this process we are able to provide actionable data to users- mainly
law firms and corporations - of the Valeo Attorney Hourly Rates Database to make important strategy
decisions enterprise-wide or engagement-by-engagement.

In the Valeo Attorney Hourly Rates Database     all hourly rotes, hours and fees for each individual
attorney are cited as to the source. For example,the citation for a court filing includes: case name,
case number,court, case filing date, filing number,filing description, attorney and support staff listed
by full name,client name, hourly rate of each timekeeper, hours billed, total hours and the time
period in which the work was performed. As mentioned,further secondary research is required to
confirm experience levels (graduation and bar licensure years), bar state (in the United States) or bar
country (outside of the United States), practice area(s) and primary industry of the client.
In terms of rate and fee sources, Valeo researches 1) public records in US State Courts, US Supreme
Court, US Federal Courts- District, Appellate, Federal Circuit and Bankruptcy 2) publicly available
budgets from municipalities, districts, counties and states where attorneys were hired to perform legal
work for the public entity and 3) registrations such SEC records and other publicly disclosed
documents.

Since Valeo researches, reviews and analyzes only publicly available information and cites the
source of the information, the United States federal and state court systems easily recognize and
accept the validity and veracity of Valeo data in court. Valeo data has been used and cited in
several hundred United States federal and state court cases including the Supreme Court of the
United States (Kirtsaeng v. John Wiley Publishing), Federal District Courts (The United States v. Apple),
Appellate Courts including the Federal Circuit, Federal Bankruptcy(AMR Corporation, Chapter 11
bankruptcy case) and Adversary proceedings and major state courts mainly in California, Texas and
New York.



Contact:

Debro Binghom, Managing Partner, dbingham@valeopartners.com
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        2.1.1 AMLAW-IO Overall Rotes


                                  2014       2015         20U    ^     2017     ^    2018        _   2019    _
        Overall
                                  Rote       Rote         Rate         Rote          Rote            Rote
        AMLAW {MO)
        Senior Partner           $1,055 $1,054 0% $1,100 4% $1,190 8% $1,262 6% $1,320 5%
        Partner                   $875       $898   3%    $985   10% $1,087 10% $1,146 5% $1,227 7%
        Counsel                   $826       $795   -4%   $879 11% $944         7% $1,006 7% $1,058 5%
        Senior Associate          $620       $630   2%    $704   12% $796       13% $825      4%     $887   8%
        Associate                 $526       $548   4%    $583   6%    $614     5%   $665     8%     $738 11%
        Support Staff             $348       $336   -3%   $363   8%    $388     7%   $406     5%     $422   4%
        Overall                   $708       $710   0%    $769   8%    $837     9%   $885     6%     $942   6%




                                                    AMLAW (1-10)
    $1,400 —
    $1,200 --
    $1,000
     $800
      $600 --
      $400
      $200 --
        $0 -
                Senior Partner     Partner           Counsel     Senior Associate    Assaciate       Support Staff
                    $1,055          $875              $826            $620             $526             $348
                    $1.054"" "      $898              $795            $630             $548             $336
                    $1.100          $985              $879            $704             $583             $363
                    $1.190          $1,087            $944            $796             $614              $388
                    $1,262          $1,146           $1,006           $825             $665              $406
                    $1,320          $1,227           $1,058           $887             $738             $422




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        2.1.2 AMLAW-10 Rates by Associate Class Year


                                     2014        2015                                        2018      _       2019   „
            Overall
                                     Rote        Rote                                         Rate             Rate
            AMLAW {1-10)
        Senior Associate                                8%    $806        8%   $875    9%    $897     3%       $943   5%
        8th Year Associate                              9%    $753        7%   $838    11% $850       1%       $890   5%
            7th Year Associate                          9%    $730        6%   $804    10% $808       0%       $872   8%
        6th Year Associate                              10% $716          7%   $772    8%    $784     1%       $837   7%
        5th Year Associate                              9%    $694        8%   $749    8%    $760     1%       $820   8%
            4th Year Associate                          8%    $680        9%   $719    6%    $745     4%       $796   7%
        3rd Year Associate                              9%    $653        7%   $705    8%    $723     3%       $772   7%
        2nd Year Associate                              3%    $519        4%   $558    8%    $628 13% $710 13%
            1st Year Associate                          11% $506      11% $557         10% $553 -1% $596              8%
            Overall                                     9%    $673        8%   $731    9%    $750     3%       $804   7%




                                                    AMLAW(MO)



  $700 -
  $600 --
  $500 -
  $400 --
  $300
  $200 -
  $100 -
    $0 - -
               Senior    8th Year     7th Yeor     6th Year   5th Year      4th Year   3rd Year    2nd Year      1st Year
             Associate   Associate   Associate    Associate   Associate    Associate   Associate   Associate    Associate


  ■ 2015

  ■ 2016
  ■ 2017

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   tn2019




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          Litigation

                                   2014       2015
          Practice Area
                                   Rate       Rate

          AMLAW {1-10)
          Senior Partner           $952 $1,024 8% $1,111 8% $1,169 5% $1,195 2% $1,241 4%
          Partner                  $815 $864 6% $968 12% $1,035 7% $1,118 8% $1,210 8%
          Counsel                  $700 $712 2% $816 15% $850 4% $826 -3% $863 4%
          Senior Associate         $654       $656   0%   $703   7%    $737     5%   $751     2%    $779   4%
          Associate                $527       $555   5%   $590   6%    $623     6%   $676     9%    $695   3%
         Support Staff             $331       $348   5%   $363   4%    $390     8%   $386     -1%   $396   3%
          Overall                  $663       $693   5%   $759   9%    $801     6%   $825     3%    $864   5%




                                                       Litigation
                                                     AMLAW(MO)




         $0 -
                 Senior Partner     Partner           Counsel    Senior Associate    Associate      Support Staff
        ■ 20)4       $952            $815              $700           $654             $527             $331
        ■ 2015      $1,024           $864              $712           $656             $555            $348
        ■ 2016      $1,111           $968              $816           $703             $590             $363
        ■ 2017      $1,169           $1,035            $850           $737             $623             $390
        ■ 2018      $1,195           $1,118            $826           $751             $676             $386
        ;i2019      $1,241           $1,210            $863           $779             $695             $396




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       Palo Alto


                              2014      2015

                              Rote Rate ^
      AMLAW 200

      Senior Partner          $750      $807   8%     $832   3%   $885     6%   $937      6%    $965     3%
      Partner                 $728      $774   6%     $798   3%   $858     8%   $913      6%    $947     4%
      Counsel                 $712      $742   4%     $665 -10% $747       12% $840       13% $905       8%
      Senior Associate        $585      $629   8%     $662   5%   $662     0%   $725      10% $793       9%
      Associate               $503      $518   3%     $535   3%   $551     3%   $574      4%    $588     3%
      Support Staff           $284      $300   5%     $300   0%   $314     5%   $327      4%    $338     4%
      Overcii                 $594      $628   6%     $632   1%   $669     6%   S719      7%    $756     5%




                                                    Polo Alto
                                                AMLAW 200
  $1,200
  $1,000
   $800
   $600
   $400
   $200
      $0
            Senior Partner      Partner         Counsel      Senior Assoclote    Associate       Support Staff
                  $750           $728               $712          $585             $503                $284
                  $807           $774               $742          $629             $518            "'^00
                  $832           $798               $665          $662             $535                $300
                  $885           $858               $747          $662             $551                $314
                  $937           $913               $840          $725             $574                $327
                  $965           $947               $905          $793             $588                $338




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                                    Valeo 2019 Attorney Hourly Rote Report


         San Francisco


                                2014      2015

                                Rate      Rote    °
        AMLAW 200

        Senior Portner          $776      $794   2%     $841   6%   $879     4%   $925      5%    $969     5%
        Partner                 $677      $727   7%     $735   1%   $781     6%   $813      4%    $879     8%
        Counsel                 $657      $692   5%     $714   3%   $751     5%   $782      4%    $845     8%
        Senior Associate        $632      $665   5%     $693   4%   $722     4%   $752      4%    $821     9%
        Associate               $450      $472   5% $485 3%         $560     15% $544       -3%   $572     5%
        Support Staff           $359      $410   14% $394 -4%       $406     3%   $422      4%    $443     5%
        Overall                 $592      $627   6%     $644   3%   $683     6%   $706      3%    $755     7%




                                                 San Francisco
                                                  AMLAW 200




       $0 ^
               Senior Partner     Portner          Counsel     Senior Associate    Associate       Support Staff
      ■ 2014       $776            $677               $657          $632             $450                $359
      ■ 2015       $794            $727               $692          $665             $472                $410
      ■ 2016       $841            $735               $714          $693             $485                $394
      ■ 2017       $879            $781               $751          $722             $560                $406
      S2018        $925            $813               $782          $752             $544                $422
       2019        $969            $879               $845          $821             $572                $443




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           #6 Sidley Austin LLP

                                 2014    2015
                                 Rate    Rote
           AMLAW 200
          Senior Partner         $965 $1,037 8% $1,092 57o $1,192 9% $1,216 2% $1,252 3%
          Partner                $831    $883   6%    $916    4%    $927     1% $1,005 8% $1,054 5%
           Counse                $734    $772   5%    $796    3%    $821     3%   $855     4%    $894     5%
          Senior Associate       $633    $661    4%   $709    7%    $729     3%   $757     4%    $791     5%
           Associate             $430    $444   3%    $460    4%    $464     1%   $479     3%    $492     3%
          Support Staff          $243    $251   3%    $262    4%    $274     5%   $282     3%    $293     4%
          Overall                $639    $675   6%    $706    5%    $734     4%   $766     4%    $796     4%




                                             #6 Sidley Austin LLP
                                                   AMLAW 200




                                                   Counsel     Senior Associate   Associate       Support Staff
                                                                    $633            $430                $243
                                                                    $661            $444                $251
                                                                    $709            $460                $262
                                                                    $729            $464                $274
                                                                    $757            $479                $282
                                                                    $791            $492                $293




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      #44 Wilson Sonsini Goodfich & Rosati, PC


                               2014      2015
                                                %
                               Ro^              "
      AMLAW 200

      Senior Partner           $886      $914   3%     $962   5% $1,004 4% $1,058 5% $1,089 3%
      Partner                  $803      $846   5%     $886   5%   $929     5%    $961     3% $1,006 5%
      Counsel                  $661      $697   5%     $730   5%   $770     6%    $801     4%   $840     5%
      Senior Associate         $451      $470   4%     $500   6%   $525     5%    $551     5%   $564     2%
      Associate                $391      $405   4%     $420   4%   $441     5%    $463     5%   $483     4%
      Support Staff            $379      $389   2%     $403   4%   $423     5%    $440     4%   $459     4%
      Overall                  $595      $620   4%     $650   5%   $682     5%   "$712 4%       $740     4%




                              #44 Wilson Sonsini Goodrich & Rosati, PC
                                                 AMLAW 200
  $1,200 —
  $1,000 —
   $800 —
   $600 ^
   $400 ^
   $200 --

      $0 -
             Senior Partner      Partner         Counsel      Senior Associate    Associate      Support Staff
    ■ 2014        $886            $803               $661          $451             $391               $379
    ■ 2015        $914            $846               $697          $470             $405               $389
    ■ 2016        $962            $886               $730          $500             $420               $403
    ■ 2017        $1,004          $929               $770          $525             $441               $423
    a2018         $1,058          $961               $801          $551             $463               $440
    : 2019        $1,089         $1,006              $840          $564             $483               $459




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            #6 Sidley Austin LLP

                                      2014   2015

                                      Rate   Rote

            AMIAW 200
            Senior Associate          $672 $735       9%     $791     8%    $792     0%     $886      12% $964     9%
            8th Year Associate        $640 $714      12% $768         8%    $769     0%     $860      12% $927     8%
            7th Year Associate        $632 $708      12% $764         8%    $765     0%     $851      11% $916     8%
            6th Year Associate        $557 $580       4%     $593     2%    $608     3%     $665      9%   $720    8%
            5th Year Associate        $529   $554     5%     $582     5%    $603     4%     $656      9%   $715    9%
            4th Year Associate        $430 $482 12% $536              11% $551       3%     $606      10% $660     9%
            3rd Year Associate        $427 $476      11% $530         11% $547       3% $599          9%   $653    9%
            2nd Year Associate        $356 $398      12% $440         11% $483       10% $527         9%   $582 10%
            1st Year Associate        $323 $360 11% $403 12% $444 10% $495 12% $551                                11%
            Overall                   $507 $556      10% $601         8%    $618     3%     $683      10% $743     9%




                                                   #6 Sidley Austin LLP
    $1,200 n
    $1,000 -
         $800 -
         $600 ■
         $400 -
         $200 -
           $0 -
                           8th Year     7th Year     6th Year   5th Year    4th Year      3rci Year    2nd Year    1st Yeor
                                       Associate    Associate   Associate   Associate     Associate   Associate   Associate
         (■"2oi7                         $632         $557          $529      $430          $427        $356        $323
         |«2oiI                          $708         $580          $554      $482          $476        $398        $360
         jii20]6                         $764         $593          $582      $536          $530        $440        $403
                                         $765         $608          $603      $551          $547         $483       $444
         |b20]8                          $851         $665          $656      $606          $599        $527        $495
         i i»20i?                        $916         $720          $715      $660          $653        $582        $551




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        #44 Wilson SonsinI Goodrich & RosatI, PC


                                            2014     2015
                                            Rate     Rote
        AMLAW 200

        Senior Associate                    $624 $648        4%      $656     1%    $675     3%     $702      4%   $725    3%
        8th Year Associate                  $594 $617        4%      $631     2%    $656     4%     $681      4%   $691     1%
        7th Year Associate                  $566 $594        5%      $613     3%    $637     4%     $649      2%   $664    2%
        6th Year Associate                  $544 $571        5%      $589     3%    $606     3%     $630      4%   $645    2%
        5th Year Associate                  $517 $548        6%      $566     3%    $588     4%     $605      3%   $626    3%
        4th Year Associate                  $491     $532    8%      $549     3%    $570     4%     $580      2%   $601    3%
        3rd Year Associate                  $476 $505        6%      $521     3%    $548     5%     $563      3%   $577    2%
        2nd Year Associate                  $462 $485        5%      $500     3%    $531     6%     $535      1%   $548    2%
         1st Year Associate                 $448 $470        5%      $485     3%    $505     4%     $519      3%   $526     1%
        Overall                             $525 $552        5%      $568     3%    $591     4%     $607      3%   $622    3%




                                      #44 Wilson Sonslnl Goodrich & Rosoti, PC

     $800 j
      $700   ■■
      $600   -■
      $500   -
      $400   -
      $300   -
      $200   -■
      $100   -•
        $0   -
                   Senior       8th Year      7th Year      6th Year    5th Year     4th Yeor     3rd Year    2nd Year     1st Year
                  Associote     Associote     Associate     Associate   Associate   Associate     Associate   Associate   Associate
      ■ 2014        $624          $594          $566          $544          $517      $491          $476        $462        $448
      ■ 2015        $648          $617          $594          $571          $548      $532          $505        $485        $470
      ■ 2016        $656          $631          $613          $589          $566      $549          $521        $500        $485
      ■ 2017        $675          $656             $637       $606          $588      $570          $548        $531        $505
      S2018         $702          $681             $649       $630          $605      $580          $563        $535        $519
      ^ 2019        $725          $691             $664       $645          $626      $601          $577        $548        $526


                                                          * Some rotes estimated




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        #6 Sidiey Austin LLP
       Bankruptcy
                              2014    2015          2016          2017         2018            2019
       Practice Area                          %             %             %            %               %
                              Rate    Rate          Rate          Rate          Rate           Rate
       Sidley Austin LLP
       Senior Partner        $1,153 $1,250 8% $1,308 5% $1,450 11% $1,500 3% $1,603 7%
       Partner                $865 $903 4% $928 3% $975 5% $1,005 3% $1,053 5%
       Counsel                $665 $700 5% $753 8% $784 4% $881 12% $878 0%
       Senior Associate       $632    $680    8%    $731    8%    $770   5%    $860    12%     $865    1%
       Associate              $511    $538    5%    $560    4%    $590   5%    $630    7%      $649    3%
       Support Staff          $210    $226    8%    $241    6%    $251   4%    $273    9%      $280    3%
       Overall                $673    $716    6%    $753    5%    $803    7%   $858    7%      $888    3%




       Corporate and Transactlonal
                              2014    2015          2016          2017         2018            2019
       Practice Area                          %             %             %            %               %
                              Rate    Rate          Rate          Rate          Rate           Rate
       Sidley Austin LLP
       Senior Partner        $1,153 $1,238 7% $1,337 8% $1,450 8% $1,500 3% $1,602 7%
       Partner                $846    $881    4%    $866 -2% $850        -2%   $859    1%      $895    4%
       Counsel                $750    $767    2%    $760    -1%   $817   8%    $842    3%      $867    3%
       Senior Associate       $649    $683    5%    $719    5%    $646 -10% $689       7%      $720    4%
        Associate             $411    $443    8%    $482    9%    $518   8%    $549    6%      $590    8%
       Support Staff          $275    $276    0%    $295    7%    $313    6%   $333    6%      $350    5%
        Overall               $681    $715    5%    $743    4%    $766    3%   $795    4%      $837    5%




       inteiiectuai Property
                              2014    2015          2016          2017          2018           2019
        Practice Area                         %             %             %             %              %
                              Rate    Rate           Rate         Rate          Rate           Rate
        Sidley Austin LLP
        Senior Partner        $796    $856    8%    $901    5%    $948    5%    $924   -3%     $952    3%
        Partner               $675    $711    5%    $756    6%    $796    5%    $796   0%      $820    3%
        Counsel               $647    $681    5%    $709    4%    $731    3%    $731   0%      $753    3%
        Senior Associate      $486    $522    8%    $555    6%    $579    4%    $573 -1% $585          2%
        Associate             $472    $508    8%    $523    3%    $551    5%    $551 0% $568           3%
        Support Staff         $429    $442    3%    $456    3%    $490    8%    $496    1%     $511    3%
        Overall               $584    $620    6%    $650    5%    $683    5%    $678 -1%       $698    3%




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? VALEO PARTNERS                                                                                         '     ^
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        Litigation
                              ^4 2015                              Ml7          2018            2019
        Practice Area         _                                                         ^       b^   ^
                              Rate Rate              Rate          Rate         Rate            Rate
        Sidiey Austin LLP
        Senior Partner         $970 $1,002 3% $1,066 6% $1,109 4% $1,175 6% $1,233 5%
        Partner                $766 $877 14% $933 6% $1,012 9% $1,075 6% $1,171 9%
        Counsel                $683 $730 7% $795 9% $839 6% $900 7% $964 7%
        Senior Associate       $566    $610    8%    $678 11% $721        6%    $761    6%      $820    8%
        Associate              $449    $481    7%    $519 8% $551         6%    $551    0%      $580    5%
        Support Statf          $295    $316    7%    $334 6% $359 7% $380 6% $405 7%
        Overall                $622    $669    8%    $721    8%    $765   6%    $807    5%      $862    7%




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6.1 Overall Rate Ranking of AMLAW 200 Firms

           1   Simpson Thacher & Bartlett LLP                           $1,058              1'
           2    Sullivan & Cromwell LLP                                 $1,058              1!
          3     Mllbank, Tweed, Hadley & McCloy LLP                     $1,037             41
          4     Paul, Weiss, Rifkind, Wtiarton & Garrison LLP           $1,024              1!
          5    Skadden, Arps, Slate, Meagher & Flom LLP                 $1,017              5
          6     Debevoise & Plimpton LLP                                $1,014             4:
          7     Cravath,Swaine & Moore, LLP                            $1,006              s:
          8     Kirkland & Ellis LLP                                     $981               1
          9     Cleary Gottlieb Steen& Hamilton LLP                      $978              2:
          10    Fried, Frank, Harris, Shriver & Jacobson LLP             $964              5!
          11    WillkieFarrSt Gallagher LLP                              $959              4:
          12    Latham & Watkins LLP                                     $957               2
          13    Weil, Gotshal & Manges LLP                               $943               11
          14    Ropes & Gray LLP                                         $940               i:
          15    Wachtell, Lipton, Rosen & Katz                           $917              41
          16    Cadwalader, Wickersham&Taft LLP                          $915              81
          17    Davis Polk & Wardwell LLP                                $914               21
          18    Schulte Roth & Zabel LLP                                 $907               7!
          19    Paul Hastings LLP                                        $905               21
          20   Shearman & Sterling LLP                                   $872               3!
          21    White & Case LLP                                         $868               l:
          22    Quinn Emanuel Urquhart& Sullivan, LLP                    $866               2:
          23    Irell & Manella LLP                                      $860              15
          24    Gibson, Dunn 8i Crutcher LLP                             $850               i:
          25    Kobre & Kim LLP                                          $841              16
          26    Kramer Levin Naftalis 8i Frankel LLP                     $839               9:
          27    Akin Gump Strauss Hauer & Feld LLP                       $839               2!
          28    Proskauer Rose LLP                                       $837              4
          29    O'Melveny & Myers LLP                                    $836               4!
          30    Wilmer Cutler Pickering Hale and Dorr LLP                $824              %
          31    Morrison & Foerster LLP                                  $824               2;
          32    Choate Hall & Stewart LLP                                $822              12
          33    Hogan Lovells LLP                                        $820                   y
          34    Stroock &Stroock 8i Lavan LLP                            $812              11
          35    Sidley Austin LLP                                        $810               e
          36    Patterson Belknap Webb & Tyler LLP                       $806              14
          37    Brown Rudnick LLP                                        $802              14
          38    Cooley LLP                                               $801               2
          39    Hughes Hubbard 8t Reed LLP                               $794              IC
          40    Dechert LLP                                              $781               3
          41    Vinson & Elkins LLP                                      $767               5
          42    DLA Piper                                                $765               4
          43    Munger,Tolles 8t Olson LLP                               $764              12
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          44   Winston & Strawn LLP
          45   Jones Day
          46   Bracewell LLP
          47   Covington & Burling LLP
          48   Finnegan, Henderson, Farabow, Garrett & Dunner LLP
          49   Venable LLP
          50   Wilson Sonsini Goodrlch & Rosati, PC
          51   Orrick, Herrington & Sutcliffe LLP
          52    Mayer Brown LLP
          53   Goodwin Procter LLP
          54   Baker Botts LLP
          55   Curtis, Mallet-Prevost, Colt & Mosle LLP
          56   Cahill Gordon & Reindel LLP
          57   Arnold & Porter Kaye Scholer LLP
          58   Fenwick & West LLP

          59   Jenner & Block LLP
          60    King&Spalding
          61    Boies, Schiller & Flexner, LLP
          62    Kasowitz Benson Torres LLP

          63    Pillsbury WInthrop Shaw Pittman LLP
          64    Katten Muchin Rosenman LLP
          65    Arent Fox LLP

          66   Sheppard, Mullin, Richter & Hampton LLP
          67    Goulston & Storrs PC
          68    Fish & Richardson PC
          69    Mintz, Levin, Cohn, Ferris, Glovsky & Popeo, P.C.
          70    Andrews Kurth Kenyon LLP
          71    Hunton Andrews Kurth LLP
          72    Kilpatrick Townsend & Stockton LLP
          73    Squire Patton Boggs
          74    Greenberg Traurig LLP
          75    Alston & Bird LLP
          76    Norton Rose Fulbrlght LLP
          77    Kelley Drye & Warren LLP
          78    Foley Hoag LLP
          79    Sullivan & Worcester LLP
          80    Wiley Rein LLP
          81    Loeb&LoebLLP
          82    Baker McKenzie
          83    Duane Morris LLP

          84    McDermott Will & Emery LLP
          85    Foley & Lardner LLP
          86    Lowenstein Sandier PC
          87    Haynes and Boone, LLP
          88    Reed Smith LLP

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